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 8                               UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10   In re:                                          Civil Action No. 2:08-cv-01276-KJD-RJJ

11   RECEIVERSHIP OF PLACER COUNTY
     LAND SPECULATORS, LLC                            Date:            May 12, 2020
12                                                    Time:            11:30 a.m.
                                                      Judge:           Hon. Kent J. Dawson
13

14
                     ORDER APPROVING MOTION OF ELLI M. A. MILLS, J.D., MBA
15                 FOR TWELFTH INTERIM ALLOWANCE OF RECEIVER FEES
                           AND REIMBURSEMENT OF EXPENSES
16

17            Upon consideration of the Motion of Elli M. A. Mills, J.D., MBA for Twelfth Interim

18   Allowance of Receiver Fees and Reimbursement of Expenses [Docket No. 1030], after a hearing

19   on proper notice, the Court having considered the motion and arguments, and good cause

20   appearing,

21            IT IS ORDERED that:

22            1.    The Motion is granted;

23            2.    The Receiver’s fees in the sum of $97,231.16 and expenses in the sum of

24   $9,652.28 for a total of $106,883.44, incurred by the Receiver during the period extending from

25   January 1, 2019, through and including December 31, 2019, are approved on an interim basis as

26   fair, reasonable, and necessary to the administration of the receivership estate;

27            3.    The Receiver is authorized to pay the 20% holdback of fees for the period of

28   January 1, 2019, through December 31, 2019 in the amount of $22,551.48; and
                                                                                            ORDER APPROVING
                                                                                         TWELFTH INTERIM FEE
                                                      -1-                                 MOTION OF RECEIVER
     Case 2:08-cv-01276-KJD-RJJ Document 1044 Filed 05/14/20 Page 2 of 2



 1          4.     The cap on the Receiver’s fees in paragraph 13 of the Order Appointing Receiver

 2   [Docket No. 428] is modified to the extent necessary to allow and pay the Receiver’s fees

 3   approved herein.

 4   Dated: __________________,
                     May 14     2020

 5                                             _______________________________________
                                               UNITED STATES DISTRICT COURT JUDGE
 6                                             District of Nevada
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                                                                                   ORDER APPROVING
                                                                                TWELFTH INTERIM FEE
                                                 -2-                             MOTION OF RECEIVER
